Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW MEXICO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                GandyDancer, LLC, a New Mexico Limited Liability Company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5801 Bobby Foster Road, Suite A
                                  Albuquerque, NM 87105
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bernalillo                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    GandyDancer, LLC, a New Mexico Limited Liability                                             Case number (if known)
          Company
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known



                 Case 19-12669-t11                   Doc 1       Filed 11/21/19             Entered 11/21/19 14:02:23 Page 2 of 7
Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   GandyDancer, LLC, a New Mexico Limited Liability                                          Case number (if known)
         Company
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                Case 19-12669-t11                Doc 1          Filed 11/21/19           Entered 11/21/19 14:02:23 Page 3 of 7
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Debtor    GandyDancer, LLC, a New Mexico Limited Liability                                         Case number (if known)
          Company
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 21, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jamin Hutchens                                                       Jamin Hutchens
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Don F. Harris                                                         Date November 21, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Don F. Harris
                                 Printed name

                                 NM Financial Law, P.C.
                                 Firm name

                                 320 Gold Avenue SW, Suite 1401
                                 Albuquerque, NM 87102-3299
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     505-503-1637                  Email address      nmfl@nmfinanciallaw.com

                                 7186 NM
                                 Bar number and State




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Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
 Fill in this information to identify the case:
 Debtor name GandyDancer, LLC, a New Mexico Limited Liability
                    Company
 United States Bankruptcy Court for the: DISTRICT OF NEW MEXICO                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BH Capital                                                      Defered Financing Contingent                                                                           $114,000.00
 2527 Virginia Street                                            Costs
 NE
 Suite J
 Albuqueruqe, NM
 87110
 Constructors Inc.                                               Outside                Contingent                                                                      $370,291.49
 3003 S Boyd Drive                                               Labor/Litigation
 Carlsbad, NM 88220
 Core & Main                                                     Job Materials          Contingent                                                                      $260,709.48
 PO BOX 28330                                                    (Bonded)
 St.Louis, MO 63146
 CTC Corp                                                        Job                 Contingent                                                                         $160,983.70
 9601 Camp Bowie                                                 Matrials/Litigation
 West
 Fort Worth, TX
 76116
 D & R Tank                                                      Outside Labor          Contingent                                                                      $256,927.20
 Company                                                         (Bonded)
 1210 Prosperity SE
 Albuquerque, NM
 87105-0672
 Funding Metrics                                                 Loans                  Contingent                                                                      $280,000.00
 d/b/a Lendini
 884 Town Center
 Drive
 Langhorne, PA
 19047
 GandyLand, LLC                                                  Property Tax 2017 Contingent                                                                           $260,903.40
 5801 Bobby Foster                                               & 2018
 Rd
 Albuquerque, NM
 87105




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    GandyDancer, LLC, a New Mexico Limited Liability                                                   Case number (if known)
           Company
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 GandyLand, LLC                                                  Rent Due               Contingent                                                                      $520,000.00
 5801 Bobby Foster
 Rd
 Albuquerque, NM
 87105
 Green Capital                                                   Purchase               Contingent                                                                      $374,795.00
 Funding, LLC                                                    Agreement
 116 Nassau Street
 Suite 804
 New York, NY 10038
 Hardy Hole Drilling                                             Outside                Contingent                                                                      $183,235.00
 217 Paloma Blanca                                               Labor/Litigation
 Drive
 Chaparrel, NM 88081
 INTERNAL                                                        Taxes                  Contingent                                                                      $765,369.91
 REVENUE SERVICE
 PO Box 7346
 Philadelphia, PA
 19101-7346
 LoanBuilder                                                     Loan                   Contingent                                                                      $500,000.00
 3505 Silverside
 Road
 Wilmington, DE
 19810
 Marco Crane &                                                   Crane Services         Contingent                                                                      $171,481.50
 Rigging Co.
 PO Box 18008
 Phoenix, AZ 85005
 NM Taxation and                                                 Taxes                  Contingent                                                                      $424,895.58
 Revenue
 Cordelia Friedman
 PO Box 630
 Santa Fe, NM
 87504-0630
 NM                                                              Due to Related         Contingent                                                                      $146,684.58
 TRANSLOADING                                                    Party
 5801 BOBBY
 FOSTER RD SW
 SUITE C
 Albuquerque, NM
 87105
 Recovery Solutions                                              Factoring        Contingent                                                                            $239,428.34
 Group                                                           Company: Everest
 1008 Mattlind Way                                               Business Funding
 Milford, DE 19963
 Star Paving                                                     Outside Labor      Contingent                                                                          $121,388.82
 Company                                                         (Bonded)/Litigatio
 PO Box 12333                                                    n
 Albuquerque, NM
 87121



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    GandyDancer, LLC, a New Mexico Limited Liability                                                   Case number (if known)
           Company
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 THE HARTFORD                                                    Insurance              Contingent                                                                      $298,562.03
 PO Box 660916
 Dallas, TX
 75266-0916
 United Rentals                                                  Equipment Rental       Contingent                                                                      $115,075.89
 Bank of                                                         (Some Bonded)
 America-Lockbox
 Acct.
 United Rentals, Inc.
 File51122
 Los Angeles, CA
 90074-1122
 Valley Fence                                                    Outside                Contingent                                                                      $114,641.30
 Company                                                         Labor/Litigation
 P O Box 12312
 Albuquerque, NM
 87195




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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